Case 2:20-cv-13134-LVP-RSW ECF No. 7, PageID.1832 Filed 11/29/20 Page 1 of 18




                       IN THE UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF MICHIGAN



TIMOTHY KING, MARIAN ELLEN
SHERIDAN, JOHN EARL HAGGARD,
CHARLES JAMES RITCHARD, JAMES DAVID                            CASE NO. 20-cv-13134
HOOPER and DAREN WADE RUBINGH,

       Plaintiffs
v.

GRETCHEN WHITMER, in her official capacity
as Governor of the State of Michigan,
JOCELYN BENSON, in her official capacity as
Michigan Secretary of State, the Michigan
BOARD OF STATE CANVASSERS,

       Defendants.



PLAINTIFFS’ EMERGENCY MOTION FOR DECLARATORY, EMERGENCY, AND
PERMANENT INJUNCTIVE RELIEF AND MEMORANDUM IN SUPPORT THEREOF

       COMES NOW Plaintiffs, Timothy King, Marian Ellen Sheridan, John Earl Haggard,

Charles James Ritchard, James David Hooper, and Daren Wade Rubingh, by and through their

undersigned counsel, and file this Emergency Motion for Injunctive Relief and Memorandum of

Law In Support Thereof, respectfully requesting the relief for the following reasons:

                                             FACTS

       The facts relevant to this motion are set forth in the November 29, 2020 amended

complaint (“Complaint”) filed in the above-captioned proceeding, and its accompanying

exhibits, filed concurrently with this motion, all of which are respectfully incorporated herein by

reference. We present only a summary.



                                                 1
Case 2:20-cv-13134-LVP-RSW ECF No. 7, PageID.1833 Filed 11/29/20 Page 2 of 18




       After a general election and recount, Joe Biden has been declared the winner of

Michigan’s General Election for President by a plurality of 154,188 votes. But the vote count

certified by defendants on November 23, 2020, is defective. Hundreds of thousands of votes

counted toward Mr. Biden’s final tally were the product of illegality, fraud and misappropriation.

Plaintiffs support this claim in two independent ways.

       i.      Counting and/or Creating Fraudulent Ballots

   First, as set forth in the affidavit of Russell Ramsland, Jr. (Compl., Ex. 104), at least 289,866

(and likely many more) ballots were fraudulent.

       Something occurred in Michigan that is physically impossible, indicating that the
       results were manipulated on election night … The event as reflected in the data
       are the 4 spikes totaling 384,733 ballots allegedly processed in a combined
       interval of only two hour[s] and 38 minutes. This is physically impossible given
       the equipment available at the 4 referenced locations (precincts/townships). ….
       This calculation yields a sum of 94,867 ballots at the maximum number of ballots
       that could be processed. … [T]here were 289,866 more ballots processed in the
       time available for processing in four precincts/townships than there was
       processing capacity. Id. ¶14.

       [T]hese statistical anomalies and impossibilities compels the conclusion to a
       reasonable degree of professional certainty that the vote count in Michigan and in
       Wayne County, in particular for candidates for President contain at least 289,866
       illegal votes that must be disregarded. Id. ¶15.

These fraudulent ballots alone are nearly twice Biden’s purported margin of 154,188 ballots.

       Separately, evidence gathered by Matt Braynard in the form of recorded calls and

declarations of voters, and analyzed by Plaintiffs’ expert, Williams M. Briggs, PhD (Compl.,

Exh. 101), shows, based on a statistically significant sample of 248 Michigan voters, two

separate types of error indicative of widespread absentee ballot fraud. Dr. Briggs first estimates

that 29,611 to 36,529 ballots were recorded for voters who had not requested them, and second,

that 27,928 to 34,710 ballots were recorded for voters who did return their ballots were recorded

as being unreturned (i.e., lost or destroyed). Id. Taking the average of the two types or errors

                                                  2
Case 2:20-cv-13134-LVP-RSW ECF No. 7, PageID.1834 Filed 11/29/20 Page 3 of 18




together, Dr. Briggs estimates that 62,517, or 45% of total “unreturned” ballots, are

“troublesome” and thus indicative fraud or other illegal conduct. Id. Mr. Braynard separately

analyzed data from the National Change of Address (“NCOA”) data base to identify Michigan

voters that had moved out of state, as well as Michigan voters who had registered to vote in

another State, before the Michigan election, and identified at least 13,248 out-of-state voters who

voted in the Michigan 2020 General Election. Id. at 1.

       Third, Eric Quinell, Ph.D. (Compl., Ex. 102) analyzed the statistically anomalous voting

patterns in Wayne County (outside Detroit) and Oakland County – where there was both an

extraordinary turnout surge from 2016 to 2020 and nearly 100% or even more of the “new” 2020

voters voted for Biden – resulting in a 15-point swing in the Democrat vs. Republican two-way

vote shares (i.e., shifting from 55/45 in 2016 to 70/30 in 2020 for Wayne County (outside

Detroit) and 54/46 in 2016 to 72/28 in 2020 for Oakland County). Id. ¶¶ 18&20. Dr. Quinell

estimates that there were 40,771 “excess” and likely fraudulent votes in Wayne County (outside

Detroit) and 46,125 such votes for Oakland County, for a total of 86,896 fraudulent votes in

these two counties. Id. ¶5. 1 Taken together, the ineligible or illegal ballots identified Dr. Briggs,

Dr. Quinell and Mr. Braynard total 162,661 ballots, which is once again in excess of Biden’s

154,188 vote plurality in Michigan, and provides a separate and independent ground from the

Ramsland Affidavit to set aside the results of 2020 General Election in Michigan.




1 A report from Dr. Stanley Young (Compl. Ex. 110, Chapter 1) reviewed data from the entire
State of Michigan and identified nine “outlier” counties that had both significantly increased
turnout in 2020 vs. 2016 almost all of which went to Biden totaling over 190,000 suspect
“excess” Biden votes (whereas turnout in Michigan’s 74 other counties was flat), reinforcing Dr.
Quinell’s analysis and showing that “excess” and likely fraudulent votes from these counties
would alone be sufficient to overcome Biden’s margin.
                                                   3
Case 2:20-cv-13134-LVP-RSW ECF No. 7, PageID.1835 Filed 11/29/20 Page 4 of 18




        Fourth, a report from Robert Wilgus (see Compl., Ex. 110, Chapter 3) analyzing the

absentee ballot data that identified a number of significant anomalies, in particular, 224,525

absentee ballot applications that were both sent and returned on the same day, 288,783 absentee

ballots that were sent and returned on the same day, and 78,312 that had the same date for all

(i.e., the absentee application was sent/returned on same day as the absentee ballot itself was

sent/returned), as well as an additional 217,271 ballots for which there was no return date at all.

Id. at 14-15. No explanation has been provided for how more than two hundred thousand each

of applications and ballots could make the roundtrip of being sent to a voter and then returned

(i.e., received by Michigan agency) on the same day, much less the nearly 80,000 that made two

roundtrips on the same day, and it is hard to conceive of an innocent explanation for how

200,000+ ballots could have no return date at all.

        ii.    Foreign Interference and Hacking in Michigan

        In addition, the Complaint includes an analysis of the Dominion software system by a

former US Military Intelligence expert concludes that the system and software have been

accessible and were certainly compromised by rogue actors, such as Iran and China. (See

Compl., Ex.105). By using servers and employees connected with rogue actors and hostile

foreign influences combined with numerous easily discoverable leaked credentials, Dominion

neglectfully allowed foreign adversaries to access data and intentionally provided access to their

infrastructure in order to monitor and manipulate elections, including the most recent one in

2020.

        Another expert, whose name and testimony have been redacted to protect his safety,

reviewed vote counts for each county in the United States, U.S. Census data, and type of voting

machine data provided by the U.S. Election Assistance Committee and found significant


                                                  4
Case 2:20-cv-13134-LVP-RSW ECF No. 7, PageID.1836 Filed 11/29/20 Page 5 of 18




evidence of foreign interference and “several ‘red flags’ concerning the percentage of votes won

by candidate Biden in counties using … Dominion Voting Systems.” (See Compl., Ex. 111 ¶6).

Affiant concludes that:

       [T]he results of the analysis and the pattern seen in the included graph strongly
       suggest a systemic, system-wide algorithm was enacted by an outside agent,
       causing the results of Michigan’s vote tallies to be inflated by somewhere between
       three and five point six percentage points. Statistical estimating yields that in
       Michigan, the best estimate of the number of impacted votes is 162,400.
       However, a 95% confidence interval calculation yields that as many as
       276,080 votes may have been impacted. Id. ¶13.

       In addition, the Federal Bureau of Investigation (“FBI”) and the Cybersecurity and

Infrastructure Security Agency (“CISA”) issued a joint advisory statement on October 30, 2020,

warning states of Iranian cyberattacks and interference targeting state election websites and

infrastructure. (See Compl. Ex. 8 at 1).

       The substantial likelihood that hostile foreign governments, with or without active

collusion or collaboration with the Defendants, is a separate and independent ground to grant the

declaratory and injunctive relief requested in the Complaint and this Motion.

       iii.    Ballot Stuffing and Other Michigan Election Code Violations

       The election process for the State of Michigan depended heavily on voting machines,

tabulators and software purchased from Dominion Voting Systems Corporation.

(“Dominion”), and more or less exclusively in key counties like Wayne County.

Computerized vote recording and tabulations are controlled by software programs that were

designed to cheat, and which were open to human manipulation. In 2020, ballot stuffing is not

simply counting votes of dead people, illegal aliens or out of state residents – all of which

occurred here. See generally Compl., Section II.




                                                  5
Case 2:20-cv-13134-LVP-RSW ECF No. 7, PageID.1837 Filed 11/29/20 Page 6 of 18




        Manipulation of votes was apparent shortly after the polls closed on November 3,

2020. In particular, several witnesses testified to the delivery, in unmarked vans with out-of-

state license plates, to the TCF Center of two shipments of tens of thousands each of “new”

ballots that arrived on November 4, 2020, well after the 8:00 PM Election Day deadline. See

Compl., Section II.B.1. Election workers, in collaboration with Michigan State, Wayne

County, and City of Detroit employees and Democratic election challengers and activists,

engaged in a pattern of illegal conduct to systematically deny Republic election challengers

the opportunity to meaningfully supervise or observe ballot handling, counting and processing.

See Compl., Section II.A. Without supervision or challengers, election officials could have

processed tens or hundreds of thousands of illegal votes from these shipments and other

forged, altered, duplicated, or outrighted fabricated votes. They could also have processed

thousands of illegal mail-in ballots that were cast by third-parties, deceased voters,

unregistered or out-of-state voters, blank ballots that were counted over and over, and/or

double votes from people voting both absentee and in-person. See Compl., Section II.B and

II.C.

        With only 154,188 votes separating the candidates out of a total of 5,539,302 cast, this

pattern of systematic and widespread violations of the Michigan Election Code by election

workers to illegally count ineligible, illegal, duplicate or outright fictitious votes is more than

sufficient to invalidate the final results. In the Complaint, Plaintiffs identified dozens of

distinct violations of the Michigan Election Code in a single county, all supported by sworn

testimony, see Compl. Section II. See generally Compl., Section II. While it may not be

possible to precisely quantify the number of illegal votes, the testimony indicates that it was

certainly in the tens of thousands (if not hundreds of thousands), see, e.g., Compl., Section


                                                   6
Case 2:20-cv-13134-LVP-RSW ECF No. 7, PageID.1838 Filed 11/29/20 Page 7 of 18




II.B.1, it is not necessary for Plaintiffs to do so; instead, they merely need to show that “it

appears that the irregularity affected the result.” Behrendt v. Wilcox, 277 Mich. 232, 246

(Mich. 1936) (affirming set aside of election upon showing of numerous irregularities).

Accord Attorney General ex rel. McCall v. Kirby, 120 Mich. 592, 595 (Mich. 1899) (setting

aside election results where election law requirements were “wholly ignored …

notwithstanding where everything was done in good faith”); Mead v. Sheffield, 278 Ga. 268,

272, 601 S.E.2d 99, 102 (1994) “[p]laintiffs need not show how the [] voters would have voted

if their [absentee] ballots had been regular. [] only had to show that there were enough

irregular ballots to place in doubt the result.”). Unless Defendants are enjoined from

certifying the election, Plaintiff will be left with no remedy because Michigan’s electoral votes

for President will not be awarded to the proper candidate.

                                          DISCUSSION

       Plaintiffs Have Standing

       Each of Plaintiffs Timothy King, Marian Ellen Sheridan, John Earl Haggard, Charles

James Ritchard, James David Hooper, and Daren Wade Rubingh are registered Michigan

voters and are nominees of the Republican Party to be a Presidential Elector on behalf of the

State of Michigan. See Compl., “Parties”. As such, they each have standing under the 2018

amendments to Article II of the Michigan Constitution, which provides that “[e]very citizen of

the United States who is an elector qualified to vote in Michigan shall have the right,” among

other things, “to have the results of statewide elections audited, …, to ensure the accuracy and

integrity of elections.” Mich. Const. 1963, art. 2, §4(1)(h). Various provisions of the

Michigan Election Code also give any citizen the right to bring an election challenge within 30

days of an election where, as here, it appears that a material fraud or error has been committed.


                                                   7
Case 2:20-cv-13134-LVP-RSW ECF No. 7, PageID.1839 Filed 11/29/20 Page 8 of 18




See, e.g., Hamlin v. Saugatuck Twp., 299 Mich. App. 233, 240-241 (2013) (citing Barrow v.

Detroit Mayor, 290 Mich. App. 530 (2010)); MCL § 168.31a (setting forth election audit

requirements); MCL § 168.861 (quo warranto remedy for fraudulent or illegal voting). In

addition, each Plaintiff has standing to bring this action as a candidate for the office of Elector

under MCL §§ 168.42 & 168.43 (election procedures for Michigan electors), because

Presidential Electors “have a cognizable interest in ensuring that the final vote tally reflects the

legally valid votes cast,” as “[a]n inaccurate vote tally is a concrete and particularized injury to

candidates such as the Electors.” Carson v. Simon, 978 F.3d 1051, 1057 (8th Cir. 2020)

(affirming that Presidential Electors have Article III and prudential standing to challenge

actions of Secretary of State in implementing or modifying State election laws); see also

McPherson v. Blacker, 146 U.S. 1, 27 (1892); Bush v. Palm Beach Cty. Canvassing Bd., 531

U.S. 70, 76 (2000) (per curiam).

       Plaintiffs are Entitled to Injunctive Relief

        “To determine whether to grant a preliminary injunction or temporary restraining

order, a district court must consider: (i) whether the movant has a strong likelihood of success

on the merits; (ii) whether the movant would suffer irreparable injury without the injunction;

(iii) whether issuance of the injunction would cause substantial harm to others; and (iv)

whether the public interest would be served by the issuance of the injunction.” Stein v.

Thomas, 222 F.Supp.3d 539, 542 (E.D. Mich. 2016) (citing Baker v. Adams Cnty./Ohio Valley

Sch. Bd., 310 F.3d 927, 928 (6th Cir. 2002)); see also City of Pontiac Retired Employees Ass’n

v. Schimmel, 751 F.3d 427, 430 (6th Cir. 2014).

       All elements are met here.




                                                  8
Case 2:20-cv-13134-LVP-RSW ECF No. 7, PageID.1840 Filed 11/29/20 Page 9 of 18




         While the U.S. Constitution itself accords no right to vote for presidential electors,

“[w]hen the state legislature vests the right to vote for President in its people, the right to vote as

the legislature has prescribed is fundamental; and one source of its fundamental nature lies in the

equal weight accorded to each vote and the equal dignity owed to each voter.” Bush v. Gore, 531

U.S. 98, 104 (2000) (emphasis added). The evidence shows not only that Defendants failed to

administer the November 3, 2020 election in compliance with the manner prescribed by the

Michigan Legislature in the Michigan Election Code, MCL §§ 168.730-738, but that Defendants

committed a scheme and artifice to fraudulently and illegally manipulate the vote count to make

certain the election of Joe Biden as President of the United States. Compl., Section I. This

conduct violated Plaintiffs’ equal protection and due process rights as well their rights under the

Michigan Election Code and Constitution. See generally MCL §§ 168.730-738 & Mich. Const.

1963, art. 2, §4(1).

         The Michigan Court of Appeals has held that, in a civil action to vindicate Plaintiffs’ right

“to seek office in a fair election” the burden of proof is a “preponderance of the evidence”.

Treasurer of the Committee to Elect Gerald D. Lostracco v. Fox, 150 Mich.App. 617, 623

(Mich.App. 1986).


    i.      Plaintiffs have a substantial likelihood of success.

         Through detailed fact and expert testimony including documentary evidence contained in

the Complaint and its exhibits, Plaintiffs have made a compelling showing that Defendants’

intentional actions jeopardized the rights of Michigan citizens to select their leaders under the

process set out by the Michigan Legislature through the commission of election frauds that

violated Michigan laws, including multiple provisions of the Michigan Election Code. MCL




                                                   9
Case 2:20-cv-13134-LVP-RSW ECF No. 7, PageID.1841 Filed 11/29/20 Page 10 of 18




§§ 168.730-738. These acts also violated the Equal Protection Clause in the United States

Constitution, U.S. Const. Amend XIV.

       The tally of ballots certified by Defendants giving Mr. Biden a 154,188 vote plurality

cannot possibly stand in light of the hundreds of thousands of illegal mail-in ballots that were

improperly counted and the vote manipulation caused by the Dominion software.

       Plaintiffs’ equal protection claim is straightforward. The right of qualified citizens to

vote in a state election involving federal candidates is recognized as a fundamental right under

the Fourteenth Amendment of the United States Constitution. Harper v. Va. State Bd. of

Elections, 383 U.S. 663, 665 (1966). See also Reynolds v. Sims, 377 U.S. 533, 554 (1964) (The

Fourteenth Amendment protects the “the right of all qualified citizens to vote, in state as well as

in federal elections.”). Indeed, ever since the Slaughter-House Cases, 83 U.S. 36 (1873), the

United States Supreme Court has held that the Privileges or Immunities Clause of the Fourteenth

Amendment protects certain rights of federal citizenship from state interference, including the

right of citizens to directly elect members of Congress. See Twining v. New Jersey, 211 U.S. 78,

97 (1908) (citing Ex parte Yarbrough, 110 U.S. 651, 663-64 (1884)). See also Oregon v.

Mitchell, 400 U.S. 112, 148-49 (1970) (Douglas, J., concurring) (collecting cases).

       The fundamental right to vote protected by the Fourteenth Amendment is cherished in our

nation because it “is preservative of other basic civil and political rights.” Reynolds, 377 U.S. at

562; League of Women Voters of Ohio v. Brunner, 548 F.3d 463,476 (6th Cir. 2008)

(“The right to vote is a fundamental right, preservative of all rights.”). Voters have a

“right to cast a ballot in an election free from the taint of intimidation and fraud,” Burson v.

Freeman, 504 U.S. 191, 211 (1992), and “[c]onfidence in the integrity of our electoral processes




                                                  10
Case 2:20-cv-13134-LVP-RSW ECF No. 7, PageID.1842 Filed 11/29/20 Page 11 of 18




is essential to the functioning of our participatory democracy.” Purcell v. Gonzalez, 549 U.S. 1, 4

(2006) (per curiam).

       “Obviously included within the right to [vote], secured by the Constitution, is the right of

qualified voters within a state to cast their ballots and have them counted” if they are validly cast.

United States v. Classic, 313 U.S. 299, 315 (1941). “[T]he right to have the vote counted” means

counted “at full value without dilution or discount.” Reynolds, 377 U.S. at 555, n.29 (quoting

South v. Peters, 339 U.S. 276, 279 (1950) (Douglas, J., dissenting)).

       “Every voter in a federal . . . election, whether he votes for a candidate with little chance

of winning or for one with little chance of losing, has a right under the Constitution to have his

vote fairly counted, without its being distorted by fraudulently cast votes.” Anderson v. United

States, 417 U.S. 211, 227 (1974); see also Baker v. Carr, 369 U.S. 186, 208 (1962). Invalid or

fraudulent votes “debase[]” and “dilute” the weight of each validly cast vote. See Anderson, 417

U.S. at 227.

       The right to an honest [count] is a right possessed by each voting elector, and to the

extent that the importance of his vote is nullified, wholly or in part, he has been injured in the

free exercise of a right or privilege secured to him by the laws and Constitution of the United

States.” Anderson, 417 U.S. at 226 (quoting Prichard v. United States, 181 F.2d 326, 331 (6th

Cir.), aff'd due to absence of quorum, 339 U.S. 974 (1950)).

       Practices that promote the casting of illegal or unreliable ballots or fail to contain basic

minimum guarantees against such conduct, can violate the Fourteenth Amendment by leading to

the dilution of validly cast ballots. See Reynolds, 377 U.S. at 555 (“[T]he right of suffrage can be

denied by a debasement or dilution of the weight of a citizen’s vote just as effectively as by

wholly prohibiting the free exercise of the franchise.”). States may not, by arbitrary action or


                                                  11
Case 2:20-cv-13134-LVP-RSW ECF No. 7, PageID.1843 Filed 11/29/20 Page 12 of 18




other unreasonable impairment, burden a citizen’s right to vote. See Baker v. Carr, 369 U.S. 186,

208 (1962) (“citizen’s right to a vote free of arbitrary impairment by state action has been

judicially recognized as a right secured by the Constitution”). “Having once granted the right to

vote on equal terms, the state may not, by later arbitrary and disparate treatment, value one

person’s vote over that of another.” Bush, 531 U.S. at 104-05. Among other things, this requires

“specific rules designed to ensure uniform treatment” in order to prevent “arbitrary and disparate

treatment of voters.” Id. at 106-07; see also Dunn v. Bloomstein, 405 U.S. 330, 336 (1972)

(providing that each citizen “has a constitutionally protected right to participate in elections on

an equal basis with other citizens in the jurisdiction”).

        Additionally, as U.S. citizens qualified to vote in Michigan and as candidates for the

electoral office of Presidential Elector, MCL §§ 168.42 & 168.43, Plaintiffs seeks redress under

the Michigan Election Code and the Michigan Constitution, to vindicate their constitutional right

to a free and fair election ensuring the accuracy and integrity of the process pursuant to the

Michigan Constitution, art. 2, sec. 4, par. 1(h), which states all Michigan citizens have:

        The right to have the results of statewide elections audited, in such a manner as
        prescribed by law, to ensure the accuracy and integrity of elections.

The Mich. Const. 1963, art. 2, sec. 4, further states, “All rights set forth in this subsection shall be

self-executing. This subsection shall be liberally construed in favor of voters' rights in order to

effectuate its purposes.”

        The Eleventh Circuit recently addressed a claim in 2018 related to the same Dominion

software used in Michigan in the 2020 General Election. The Court found:

        In summary, while further evidence will be necessary in the future, the Court finds
        that the combination of the statistical evidence and witness declarations in the
        record here (and the expert witness evidence in the related Curling case which the
        Court takes notice of) persuasively demonstrates the likelihood of Plaintiff
        succeeding on its claims. Plaintiff has shown a substantial likelihood of proving that

                                                    12
Case 2:20-cv-13134-LVP-RSW ECF No. 7, PageID.1844 Filed 11/29/20 Page 13 of 18




          the Secretary's failure to properly maintain a reliable and secure voter registration
          system has and will continue to result in the infringement of the rights of the voters
          to cast their vote and have their votes counted.

Common Cause Georgia v. Kemp, 347 F.Supp.3d 1270, 1294-1295, (11th Cir. 2018).

          Based upon all the allegations of fraud, statutory violations, and other misconduct, as

stated herein and in the attached affidavits, it is necessary to enjoin the certification of the

election results, and grant the declaratory, emergency and permanent injunctive relief requested

herein and in the Complaint, pending a full investigation and court hearing, and to order an

independent audit of the November 3, 2020 General Election to ensure the accuracy and integrity

of the election.

    ii.      The Plaintiffs will suffer Irreparable Harm

          Plaintiffs will suffer an irreparable harm due to the Defendants’ myriad violations of

Plaintiffs’ rights under the U.S. and Michigan Constitutions detailed in the Complaint, in

particular, Plaintiffs’ fundamental right to vote, equal protection of the laws, due process, and

their specific rights as candidates to electoral office.

          When Constitutional rights are threatened or impaired, irreparable injury is
          presumed. A restriction on the fundamental right to vote therefore constitutes an
          irreparable injury.

Obama for America vs. Husted, 697 F.3d 423, 436 (6th Cir. 2012) (citations omitted). See also

Am. Civil Liberties Union of Kentucky v. McCreary Cnty., Ky., 354 F.3d 438, 445 (6th Cir. 2003)

aff’d sub nom., McCreary Cnty., Ky., v. Am. Civil Liberties Union of Ky., 545 U.S. 844 (2005)

(where a plaintiff’s constitutional rights are at issue, the movant need only show that his rights

are “threatened,” from which showing “a finding of irreparable injury is mandated.”).

          The Michigan count was defective, including defective absentee ballots and out of state

voters, then Michigan’s election results are improper and suspect, resulting in Michigan’s

electoral college votes going to Democrats, including Joseph R. Biden, contrary to the votes of

                                                    13
Case 2:20-cv-13134-LVP-RSW ECF No. 7, PageID.1845 Filed 11/29/20 Page 14 of 18




the majority of Michigan’s qualified electors. Plaintiffs will directly be impacted by their roles

in the voting for the Presidential election as Electors to the Michigan Legislature.


   iii.      The Balance of Equities

          The third fact, whether “the balance of the equities tips in his favor,” Husted, 697 F.3d at

428 (quoting Winter v. Natural Res. Def. Council, 555 U.S. 7, 20 (2008)), also favors granting

the instant motion for injunctive relief. In balancing the equities, a court considering an election

challenge “must weigh the character and magnitude of the asserted injury” to the constitutional

rights that the plaintiff seeks to protect “against ‘the precise interests put forward by the State as

justifications for the burdens imposed by its rule … .’” Stein, 222 F.Supp.3d at 543 (quoting

Burdick v. Takushi, 504 U.S. 428, 434 (1992)). Here, the balance must tip into Plaintiffs’ favor,

as the State has presented no justification for its lawless behavior and wanton disregard of the

Michigan Election Code. The only justification Defendants can put forward, were they to say the

silent part out loud, is that imperative of ensuring a Biden victory overrides any constraints

imposed by the Michigan Election Code.


   iv.       The Public Interest

          Finally, the public interest would be served by the grant of the temporary relief requested

herein.

          The fundamental right invoked by Plaintiffs—the right to vote, and to have that
          vote conducted fairly and counted accurately—is the bedrock of our Nation.
          Without elections that are conducted fairly—and perceived to be fairly
          conducted—public confidence in our political institutions will swiftly erode.

Stein, 222 F.Supp.3d at 544. This Court granted the temporary relief requested by Ms. Stein in

2016, despite the fact that the vote margin separating her and President Trump was an order of




                                                    14
Case 2:20-cv-13134-LVP-RSW ECF No. 7, PageID.1846 Filed 11/29/20 Page 15 of 18




magnitude larger than Biden’s margin, 2 her evidence of violations was minimal to non-existent

(compared with the two dozen plus violations identified in sworn eyewitness testimony in

Section II of the Complaint), and the Michigan election workers in key areas like Wayne County

for the 2016 election were much more hostile to President Trump than they ever were to Jill

Stein. Accordingly, if this Court found that temporary relief for Jill Stein in 2016 was in the

public interest, then it must reach the same conclusion for Plaintiffs given that Trump (unlike

Stein) has a realistic chance of winning and Plaintiffs have arguably presented more evidence of

more kinds of election fraud than has ever been included in an election challenge to a court in a

Michigan (or the United States for that matter). This conclusion is further supported by the 2018

enactment of the amendments to Article II of the Michigan Constitution, which are intended,

among other things “to preserve the purity of elections, … [and] to guard against abuses of the

electoral franchise …. .” Mich. Const. 1963, art. 4, §2.

       Plaintiffs Are Entitled to Emergency Injunctive Relief Prior to December 8, 2020

       Under Bush v. Gore, 531 U.S. 98 (2000), Plaintiffs are entitled to emergency

injunctive relief that must be granted in advance of December 8, 2020, which is the

“safe harbor” date for States to submit their slates of electors under 3 U.S.C. § 5. There,

the Supreme Court granting an emergency application for stay of Florida recount

because there was “no recount procedure in place … that comports with minimal

constitutional safeguards,” and any recount procedure that could meet constitutional

requirements could not be completed by the 3 U.S.C. §5 safe harbor date. Accordingly,



2 In 2016, Jill Stein received 51,463 votes (or slightly over one percent), while the winner she
challenged, current President Trump, received 2,279,543 votes and nearly 50 percent of the vote.
In 2020, the current margin between President Trump and Biden is 154,188 votes, based on the
November 23, 2020 certification, which has not disqualified any of the illegal or ineligible votes
discussed in the Complaint.
                                                 15
Case 2:20-cv-13134-LVP-RSW ECF No. 7, PageID.1847 Filed 11/29/20 Page 16 of 18




this Court must schedule and complete any required hearings, briefings and responses in

time to issue a decision before December 8, 2020.

       Relief Requested

       Plaintiffs seek a de-certification of Michigan’s election results or a stay in the delivery of

the certified results to the Electoral College to preserve the status quo while this case proceeds,

as well as seeking the impounding of the voting machines made available and other equitable

relief, on an emergency basis, due to the irreparable harm, and impending election voting for the

electors, as stated in the Complaint. The low costs to Defendants and high potential harm to

Plaintiffs make this a case with a substantial net harm that an immediate and emergency

injunctive relief can prevent. Therefore, it is respectfully requested that the Court grant

Plaintiffs’ Motion. A proposed form of Order is attached.



       Respectfully submitted, this 29th day of November 2020.


                                               /s Sidney Powell*
                                               Sidney Powell PC
                                               Texas Bar No. 16209700
2911 Turtle Creek Blvd, Suite 300
Dallas, Texas 75219

*Application for admission pro hac vice
forthcoming

Attorneys for Plaintiffs

/s/ Sidney Powell*
Sidney Powell PC
Texas Bar No. 16209700
*Application for admission pro hac vice
Forthcoming

/s/ Scott Hagerstrom
Michigan State Bar No. 57885
222 West Genesee

                                                  16
Case 2:20-cv-13134-LVP-RSW ECF No. 7, PageID.1848 Filed 11/29/20 Page 17 of 18




Lansing, MI 48933
(517) 763-7499
Scotthagerstrom @yahoo.com

/s/ Gregory J. Rohl P39185
The Law Offices of Gregory J. Rohl, P.C.
41850 West 11 Mile Road, Suite 110
Novi, MI 48375
248-380-9404
gregoryrohl@yahoo.com
CERTIFICATE OF SERVICE

       This is to certify that I have on this day e-filed the foregoing Plaintiffs’ Motion for

Declaratory, Emergency, and Permanent Injunctive Relief and Memorandum in Support Thereof

using the CM/ECF system, and that I have delivered the filing to the Defendants by email and

FedEx at the following addresses:

This 29th day of November, 2020.

       Governor Gretchen Whitmer
       P.O. Box 30013
       Lansing, Michigan 48909
       info@gretchenwhitmer.com

       Secretary of State Jocelyn Benson
       Bureau of Elections
       Richard H. Austin Building, 4th Floor
       430 W. Allegan
       Lansing, Michigan 48918
       Elections@Michigan.gov

       Board of State Canvassers
       Bureau of Elections
       Richard H. Austin Building, 1st Floor
       430 W. Allegan
       Lansing, Michigan 48918
       Elections@Michigan.gov


/s/ Sidney Powell*
Sidney Powell PC
Texas Bar No. 16209700
*Application for admission pro hac vice
Forthcoming

                                                  17
Case 2:20-cv-13134-LVP-RSW ECF No. 7, PageID.1849 Filed 11/29/20 Page 18 of 18




/s/ Scott Hagerstrom
Michigan State Bar No. 57885
222 West Genesee
Lansing, MI 48933
(517) 763-7499
Scotthagerstrom @yahoo.com

/s/ Gregory J. Rohl P39185
The Law Offices of Gregory J. Rohl, P.C.
41850 West 11 Mile Road, Suite 110
Novi, MI 48375
248-380-9404
gregoryrohl@yahoo.com


Howard Kleinhendler
New York Bar No. 2657120
Howard Kleinhendler Esquire
369 Lexington Avenue, 12th Floor
New York, New York 10017
(917) 793-1188
howard@kleinhendler.com




                                           18
